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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

PROPERTY OF THE PEOPLE, INC.,       )
                                    )
and                                 )
                                    )
RYAN NOAH SHAPIRO,                  )
                                    )
      Plaintiffs,                   )
                                    )
      v.                            )
                                    )
OFFICE OF MANAGEMENT                )               Civ. Action No. 1:17-cv-01677 (RC)
AND BUDGET,                         )
                                    )
and                                 )
                                    )
COUNCIL ON ENVIRONMENTAL            )
QUALITY,                            )
                                    )
      Defendants.                   )
____________________________________)

                              JOINT STATUS REPORT

       The parties, by and through their undersigned counsel and pursuant to the Court’s

Order of October 6, 2017, respectfully submit the following:

   1. On August 17, 2017, Plaintiffs brought this FOIA action requesting visitor logs,

       call logs, and calendars from Defendants, the Office of Management and Budget

       (OMB) and the Council on Environmental Quality (CEQ). Defendants answered

       Plaintiffs’ Complaint on October 6, 2017.

   2. On September 12, 2017, Defendant CEQ sent Plaintiffs’ counsel a final

       determination letter and responsive documents via e-mail. During a telephone

       conference on October 11, 2017, Plaintiffs’ counsel informed defense counsel that
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      Plaintiffs are satisfied with CEQ’s production. The parties are filing a stipulation

      of dismissal as to CEQ contemporaneously with this joint status report.

   3. On August 15, 2017, Defendant OMB informed Plaintiffs’ counsel via e-mail that

      OMB had completed its search for responsive records and was in the process of

      reviewing those records.

   4. At this time, OMB is preparing responsive records for final internal review and

      production.

   5. OMB anticipates that it will make an interim production of responsive, non-exempt

      records on or before October 27, 2017. OMB anticipates that it will make its final

      production of responsive, non-exempt records on or before November 3, 2017.

   6. Because OMB’s production is pending, the parties respectfully submit that it would

      be premature at this time to set a briefing schedule for dispositive motions.

      Accordingly, the parties propose the following:

          a. The parties will meet and confer on or before November 10, 2017, to discuss

              OMB’s production and to determine whether summary judgment briefing

              will be necessary; and

          b. The parties will file a joint status report on or before November 20, 2017,

              to apprise the Court of the status of this matter and to propose a briefing

              schedule if necessary.


Dated: October 19, 2017                Respectfully submitted,

                                       CHAD A. READLER
                                       Acting Assistant Attorney General

                                       ELIZABETH J. SHAPIRO
                                       Deputy Director, Federal Programs Branch


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                               /s/
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